Case 20-10343-LSS   Doc 1884   Filed 12/30/20   Page 1 of 9
Case 20-10343-LSS   Doc 1884   Filed 12/30/20   Page 2 of 9
                    EXHIBIT A
                                                  Case 20-10343-LSS                            Doc 1884                    Filed 12/30/20                   Page 3 of 9
                                                                                                            Exhibit A
                                                                                                     Core/2002 Service List
                                                                                                    Served as set forth below

                    Description                                           Name                                       Address                       Fax                         Email             Method of Service
Notice of Appearance and Request for Notices         Abernathy, Roeder, Boyd & Hullett, P.C.   Attn: Chad Timmons                           214-544-4040    ctimmons@abernathylaw.com          Email
Counsel to Collin County Tax Assessor/Collector                                                Attn: Larry R. Boyd                                          bankruptcy@abernathylaw.com
                                                                                               Attn: Emily M. Hahn                                          ehahn@abernathy-law.com
                                                                                               1700 Redbud Blvd, Ste 300
                                                                                               McKinney, TX 75069
Notice of Appearance/Request for Notices.           Adams and Reese LLP                        Attn: Henry C. Shelton, III                                  Henry.Shelton@arlaw.com            Email
Counsel to Chickasaw Council, Boy Scouts of                                                    6075 Poplar Ave, Ste 700
America, Inc.                                                                                  Memphis, TN 38119
Notice of Appearance/Request for Notices            Ashby & Geddes, P.A.                       Attn: Bill Bowden                            302-654-2067    wbowden@ashbygeddes.com            Email
Counsel for Del-Mar-Va Council, Inc., Boy Scouts of                                            500 Delaware Avenue, 8th Floor
America                                                                                        P.O. Box 1150
                                                                                               Wilmington, DE 19899-1150
Notice of Appearance and Request for Notices         Baird Mandalas Brockstedt, LLC            Attn: Stephen W. Spence                      302-644-0306    sws@bmbde.com                      Email
Counsel to several sexual abuse survivor claimants                                             1413 Savannah Rd, Ste 1
                                                                                               Lewes, DE 19958
Notice of Appearance/Request for Notices             Baker Manock & Jensen, PC                 Attn: Jan T. Perkins                                         jperkins@bakermanock.com           Email
Counsel for Sequoia Council of Boy Scouts, Inc.                                                5260 North Palm Avenue, Suite 421
                                                                                               Fresno, CA 93704
Notice of Appearance/Request for Notices        Ballard Spahr LLP                              Attn: Matthew G. Summers                     302-252-4466    summersm@ballardspahr.com          Email
Counsel for Clarendon America Insurance Company                                                Attn: Chantelle D. McClamb                                   mcclambc@ballardspahr.com
                                                                                               919 N. Market St, 11th Fl
                                                                                               Wilmington, DE 19801-3034
Notice of Appearance/Request for Notices         Bayard, P.A.                                  Attn: Erin R. Fay                                            efay@bayardlaw.com                 Email
Counsel for Hartford Accident and Indemnity                                                    Attn: Gregory J. Flasser                                     gflasser@bayardlaw.com
Company, First State Insurance Company, and Twin                                               600 N King St, Ste 400
City Fire Insurance Company                                                                    Wilmington, DE 19801


Notice of Appearance/Request for Notices             Bielli & Klauder, LLC                     Attn: David M. Klauder                       302-397-2557    tbielli@bk-legal.com               Email
Counsel for Various Tort Claimants                                                             1204 N. King Street                                          dklauder@bk-legal.com
                                                                                               Wilmington, DE 19801
Notice of Appearance and Request for Notices         Bodell Bove, LLC                          Attn: Bruce W. McCullough                    302-655-6827    bmccullough@bodellbove.com         Email
Counsel for Agricultural Insurance Company                                                     1225 N King St, Ste 1000
                                                                                               Wilmington, DE 19801
Notice of Appearance/Request for Notices             Bradley Arant Boult Cummings              Attn: Edwin Rice                                             eRice@bradley.com                  Email
Counsel for the Florida Conference of the United                                               Attn: Elizabeth Brusa                                        ebrusa@bradley.com
Methodist Church and Various Churches in the                                                   100 N Tampa St, Ste 2200
Conference that are Chartered Organizations                                                    Tampa, FL 33602



Notice of Appearance/Request for Notices             Bradley Riley Jacobs PC                   Attn: Todd C. Jacobs                                         tjacobs@bradleyriley.com           Email
Counsel for the National Surety Corporation                                                    320 W Ohio St, Ste 3W
                                                                                               Chicago, IL 60654
Notice of Appearance and Request for Notices         Brown Rudnick LLP                         Attn: David J. Molton                                        EGoodman@brownrudnick.com          Email
Counsel to the Coalition of Abused Scouts for                                                  7 Times Square                                               DMolton@brownrudnick.com
Justice                                                                                        New York, NY 10036
Notice of Appearance and Request for Notices         Brown Rudnick LLP                         Attn: Sunni P. Beville                                       sbeville@brownrudnick.com          Email
Counsel to the Coalition of Abused Scouts for                                                  Attn: Tristan G. Axelrod                                     taxelrod@brownrudnick.com
Justice                                                                                        1 Financial Ctr
                                                                                               Boston, MA 02111
Notice of Appearance/Request for Notices             Buchalter, A Professional Corporation     Attn: Shawn M. Christianson                  415-227-0770    schristianson@buchalter.com        Email
Counsel for Oracle America, Inc                                                                55 Second Street, 17th Floor
                                                                                               San Francisco, California 94105-3493
Notice of Appearance/Request for Notices Counsel Butler Snow LP                                Attn: Daniel W. Van Horn                                     Danny.VanHorn@butlersnow.com       Email
for Chicksaw Council, BSA, Inc.                                                                P.O. Box 171443
                                                                                               Memphis, TN 38187-1443
Notice of Appearance/Request for Notices             Carruthers & Roth, P.A.                   Attn: Britton C. Lewis                       336-478-1145    bcl@crlaw.com                      Email
Counsel for Arrowood Indemnity Company                                                         235 N. Edgeworth St.
                                                                                               P.O. Box 540
                                                                                               Greensboro, NC 27401
Notice of Appearance/Request for Notices Counsel Chipman, Brown, Cicero & Cole, LLP            Attn: Mark Desgrosseilliers                  302-295-0199    degross@chipmanbrown.com           Email
for Jane Doe, Party in Interest                                                                1313 N Market St, Ste 5400
                                                                                               Wilmington, DE 19801
Notice of Appearance/Request for Notices             Choate, Hall & Stewart LLP                Attn: Douglas R. Gooding                     617-248- 4000   dgooding@choate.com                Email
Counsel for Liberty Mutual Insurance Company                                                   Attn: Jonathan D. Marshall                                   jmarshall@choate.com
                                                                                               Attn: Michael J. Foley, Jr.                                  mjfoley@choate.com
Notice of Appearance/Request for Notices -          Commonwealth of Pennsylvania               Dept of Labor & Industry                     717-787-7671    ra-li-ucts-bankrupt@state.pa.us    Email
Authorized Agent for the Commonwealth of                                                       Attn: Deb Secrest/Collections Support Unit
Pennsylvania, Dept of Labor and Industry, Office of                                            651 Boas St, Rm 925
Unemployment Compensation Tax Services (UCTS)                                                  Harrisburg, PA 17121

Notice of Appearance/Request for Notices             Connolly Gallagher, LLP                   Attn: Karen C. Bifferato                                     kbifferato@connollygallagher.com   Email
Counsel for IRC Burnsville Crossing, LLC                                                       Attn: Kelly M. Conlan                                        kconlan@connollygallagher.com
                                                                                               1201 N Market St, 20th Fl
                                                                                               Wilmington, DE 19801
Notice of Appearance/Request for Notices             Coughlin Duffy, LLP                       Attn: Kevin Coughlin                         973-267-6442    kcoughlin@coughlinduffy.com        Email
Counsel for Arrowood Indemnity Company                                                         Attn: Lorraine Armenti                                       larmenti@coughlinduffy.com
                                                                                               Attn: Michael Hrinewski                                      mhrinewski@coughlinduffy.com
                                                                                               350 Mount Kemble Ave.
                                                                                               PO Box 1917
                                                                                               Morristown, NJ 0796
Notice of Appearance and Request for Notices         Crew Janci LLP                            Attn: Stephen Crew                                           peter@crewjanci.com                Email
Counsel to Abuse Victims                                                                       Attn: Peter Janci                                            steve@crewjanci.com
                                                                                               1200 NW Naito Pkwy, Ste 500
                                                                                               Portland, OR 97209
*NOA - Counsel to Appellee Sidley Austin LLP         Cross & Simon, LLC                        A n: Christopher Simon                       302-777-4224    csimon@crosslaw.com                Email
                                                                                               A n: Kevin Mann                                              kmann@crosslaw.com
                                                                                               1105 N Market St, Ste 901
                                                                                               Wilmington, DE 19801




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20-10343                                                                                            Page 1 of 7
                                                  Case 20-10343-LSS                                 Doc 1884                        Filed 12/30/20           Page 4 of 9
                                                                                                                 Exhibit A
                                                                                                          Core/2002 Service List
                                                                                                         Served as set forth below

                   Description                                             Name                                           Address                    Fax                        Email                Method of Service
Notice of Appearance and Request for Notices        Crowell & Moring LLP                            Attn: Mark D. Plevin                      415-986-2827   mplevin@crowell.com                   Email
Counsel to American Zurich Insurance Company                                                        Attn: Austin J. Sutta                                    asutta@crowell.com
                                                                                                    3 Embarcadero Center, 26th Fl
                                                                                                    San Francisco, CA 94111
Notice of Appearance and Request for Notices        Crowell & Moring LLP                            Attn: Tacie H. Yoon                       202-628-5116   tyoon@crowell.com                     Email
Counsel to American Zurich Insurance Company                                                        1001 Pennsylvania Ave, NW
                                                                                                    Washington, D.C. 20004
Notice of Appearance/Request for Notices            Davidoff Hutcher & Citron LLP                   Attn: Jonathan S. Pasternak               914-381-7406   jsp@dhclegal.com                      Email
Counsel for St. Stephen's Episcopal Church                                                          Attn: James B. Glucksman                                 jbg@dhclegal.com
                                                                                                    Attn: Robert L. Rattet                                   rlr@dhclegal.com
                                                                                                    605 3rd Ave
                                                                                                    New York, NY 10158
Notice of Appearance/Request for Notices            Davies Hood PLLC                                Attn: Jason P. Hood                                      Jason.Hood@davieshood.com             Email
Counsel for Chicksaw Council, BSA, Inc.                                                             22 North Front Street, Suite 620
                                                                                                    Memphis, TN 38103-2100
Notice of Appearance/Request for Notices            Dorsey & Whitney LLP                            Attn: Bruce R. Ewing                                     ewing.bruce@dorsey.com                Email
Counsel for Girl Scouts of the United States of                                                     Attn: Eric Lopez Schnabel                                schnabel.eric@dorsey.com
America                                                                                             51 W 52nd St
                                                                                                    New York, NY 10019
Notice of Appearance/Request for Notices            Dorsey & Whitney LLP                            Attn: Eric Lopez Schnabel                                schnabel.eric@dorsey.com              Email
Counsel for Girl Scouts of the United States of                                                     Attn: Alessandra Glorioso                                glorioso.alessandra@dorsey.com
America                                                                                             300 Delaware Ave, Ste 1010
                                                                                                    Wilmington, DE 19801
Notice of Appearance and Request for Notices        Doshi Legal Group, P.C.                         Attn: Amish R. Doshi                                     amish@doshilegal.com                  Email
Counsel to Oracle America, Inc.                                                                     1979 Marcus Ave, Ste 210E
                                                                                                    Lake Success, NY 11042
Notice of Appearance/Request for Notices            Faegre Drinker Biddle & Reath LLP               Attn: Michael P. Pompeo                   317-569-4800   michael.pompeo@faegredrinker.com      Email
Counsel for The Roman Catholic Diocese of                                                           1177 Avenue of the Americas, 41st Floor
Brooklyn, New York                                                                                  New York, NY 10036-2714
Notice of Appearance/Request for Notices            Faegre Drinker Biddle & Reath LLP               Attn: Patrick A. Johnson                  302-467-4201   patrick.jackson@faegredrinker.com     Email
Counsel for The Roman Catholic Diocese of                                                           Attn: Kaitlin W. MacKenzie                               kaitlin.mackenzie@faegredrinker.com
Brooklyn, New York                                                                                  222 Delaware Ave, Ste 1410
                                                                                                    Wilmington, DE 19801-1621
Notice of Appearance/Request for Notices            Faegre Drinker Biddle & Reath LLP               Attn: Jay Jaffe                           317-569-4800   jay.jaffe@faegredrinker.com           Email
Counsel for Weaver Fundraising, LLC d/b/a Trail's                                                   600 E. 96th St, Ste 600
End Popcorn Company                                                                                 Indianapolis, IN 46240
Notice of Appearance/Request for Notices            Faegre Drinker Biddle & Reath LLP               Attn: Patrick A. Johnson                  302-467-4201   patrick.jackson@faegredrinker.com     Email
Counsel for Weaver Fundraising, LLC d/b/a Trail's                                                   222 Delaware Ave, Ste 1410
End Popcorn Company                                                                                 Wilmington, DE 19801-1621

Notice of Appearance/Request for Notices            Ferry Joseph, PA                                Attn: John D. McLaughlin, Jr.             302-575-1714   jmclaughlin@ferryjoseph.com           Email
Counsel for Simon Kenton Council                                                                    824 N Market St, Ste 1000
                                                                                                    Wilmington, DE 19801
Notice of Appearance/Request for Notices            Fineman Krekstein & Harris, PC                  Attn: Dierdre M. Richards                 302-394-9228   drichards@finemanlawfirm.com          Email
Counsel for National Union Fire Insurance Co of PA,                                                 1300 N King St
AIG                                                                                                 Wilmington, DE 19801


Notice of Appearance and Request for Notices        Flordia M. Henderson                            P.O. Box 30604                            901-348-4409   flordia@fhendersonlaw.net             Email
Counsel for Trennie L. Williams and Kiwayna H.                                                      Memphis, TN 38130-0604
Williams, jointly as Parents, Legal Guardians and
Next Friends of T.Q.W., a Minor
Notice of Appearance/Request for Notices            Foley & Lardner LLP                             Attn: Richard J. Bernard                  212-687-2329   rbernard@foley.com                    Email
Counsel for Boys Scouts of America San Diego                                                        90 Park Ave
                                                                                                    New York, NY 10016
Notice of Appearance/Request for Notices            Foley & Lardner LLP                             Attn: Victor Vilaplana                    858-792-6773   vavilaplana@foley.com                 Email
Counsel for Boys Scouts of America San Diego                                                        3579 Valley Centre Dr, Ste 300
                                                                                                    San Diego, CA 92130
Notice of Appearance/Request for Notices            Foran Glennon Planadech Ponzi & Rudloff, P.C.   Attn: Susan N K Gummow                    312-863-5000   sgummow@fgppr.com                     Email
Counsel for National Union Fire Insurance Co of PA,                                                 Attn: Igor Shleypak                                      ishleypak@fgppr.com
AIG                                                                                                 222 N LaSalle St, Ste 1400
                                                                                                    Chicago, IL 60614
Notice of Appearance/Request for Notices            Fox Swibel Levin & Carroll LLP                  Attn: Margaret M. Anderson                312-224-1201   panderson@foxswibel.com               Email
Counsel for Old Republic Insurance Company                                                          200 W Madison St, Ste 3000
                                                                                                    Chicago, IL 60606
Notice of Appearance and Request for Notices        Gilbert LLP                                     Attn: Kami Quinn                                         chalashtorij@gilbertlegal.com         Email
Counsel to Future Claimants’ Representative                                                         Attn: Meredith Neely                                     quinnk@gilbertlegal.com
                                                                                                    Attn: Emily Grim                                         neelym@gilbertlegal.com
                                                                                                    Attn: Jasmine Chalashtori                                grime@gilbertlegal.com
                                                                                                    700 Pennsylvania Ave, SE Ste 400
                                                                                                    Washington, DC 20003
Notice of Appearance and Request for Notices        Godfrey & Kahn, SC                              Attn: Erin A. West                        608-257-0609   ewest@gklaw.com                       Email
Counsel for Bay-Lakes Council                                                                       1 E Main St, Ste 500
                                                                                                    P.O. Box 2719
                                                                                                    Madison, WI 53701-2719
Notice of Appearance and Request for Notices        Godfrey & Kahn, SC                              Godfrey & Kahn, SC                        920-436-7988   tnixon@gklaw.com                      Email
Counsel for Bay-Lakes Council                                                                       Attn: Timothy F. Nixon
                                                                                                    200 S Washington St, Ste 100
                                                                                                    Green Bay, WI 54301-4298
Notice of Appearance and Request for Notices        Hoover & Slovacek, LLP                          Attn: Steven A. Leyh                      713-977-5395   leyh@hooverslovacek.com               Email
Counsel for the Chapelwood United Methodist                                                         Galleria Tower II
Church                                                                                              5051 Westheimer Rd, Ste 1200
                                                                                                    Houston, TX 77056
Notice of Appearance and Request for Notices        Ice Miller                                      Attn: Daniel R. Swetnam                   614-224-3568   daniel.swetnam@icemiller.com          Email
Counsel for Simon Kenton Council                                                                    Arena District
                                                                                                    250 West St
                                                                                                    Columbus, OH 43215
Core Parties                                        Internal Revenue Service                        Centralized Insolvency Operation          855-235-6787                                         First Class Mail
Internal Revenue Service                                                                            P.O. Box 7346
                                                                                                    Philadelphia, PA 19101-7346




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20-10343                                                                                                 Page 2 of 7
                                                 Case 20-10343-LSS                                 Doc 1884                     Filed 12/30/20          Page 5 of 9
                                                                                                                 Exhibit A
                                                                                                          Core/2002 Service List
                                                                                                         Served as set forth below

                    Description                                          Name                                             Address              Fax                            Email                Method of Service
Notice of Appearance/Request for Notices           Jacobs & Crumplar, P.A.                          Attn: Reann Warner                  302-656-5875    raeann@jcdelaw.com                       Email
Counsel for Certain Claimants                                                                       Attn: Thomas C. Crumplar                            tom@jcdelaw.com
                                                                                                    750 Shipyard Dr., Suite 200
                                                                                                    Wilmington, DE 19801
Notice of Appearance and Request for Notices       James, Vernon & Weeks, P.A.                      Attn: Leander L. James              208-664-1684    ljames@jvwlaw.net                        Email
Counsel to Certain Tort Claimants                                                                   Attn: Craig K. Vernon                               cvernon@jvwlaw.net
                                                                                                    Attn: R. Charlie Beckett                            rbeckett@jvwlaw.net
                                                                                                    1626 Lincoln Wy
                                                                                                    Coeur d’Alene, ID 83815
Notice of Appearance/Request for Notices           Janet, Janet & Scuggs, LLC                       Attn: Gerald D. Jowers, Jr          803-727-1059    gjowers@JJSJustice.com                   Email
Counsel for Claimant J.M. as party in interest                                                      500 Taylor St, Ste 301
                                                                                                    Columbia, SC 29201
Bank Debt                                          JPMorgan Chase Bank, NA                          Attn: Phil Martin                                   louis.strubeck@nortonrosefulbright.com   First Class Mail
                                                                                                    Attn: Louis Strubeck                                                                         Email
                                                                                                    10 S Dearborn St
                                                                                                    Mail Code Il1-1415
                                                                                                    Chicago, Il 60603
Notice of Appearance/Request for Notices           Karr Tuttle Campbell, PS                         Attn: Bruce W. Leaverton            206-682-7100    bleaverton@karrtuttle.com                Email
Counsel for Chief Seattle Council, Boy Scouts of                                                    701 5th Ave, Ste 3300
America                                                                                             Seattle, WA 98104
Notice of Appearance and Request for Notices       Kelly, Morgan, Dennis, Corzine & Hansen, P.C.    Attn: Michael G. Kelly              432-363-9121    mkelly@kmdfirm.com                       Email
Counsel to Buffalo Trail Council, Inc.                                                              P.O. Box 1311
                                                                                                    Odessa, TX 79760-1311
Notice of Appearance and Request for Notices       Klehr Harrison Harvey Branzburg LLP              Attn: Domenic E. Pacitti                            dpacitti@klehr.com                       Email
Counsel to Abuse Victims                                                                            919 Market St, Ste 1000
Counsel to Jorge Vega                                                                               Wilmington, DE 19801
Notice of Appearance and Request for Notices       Klehr Harrison Harvey Branzburg LLP              Attn: Morton R. Branzburg                           mbranzburg@klehr.com                     Email
Counsel to Abuse Victims                                                                            1835 Market St, Ste 1400
                                                                                                    Philadelphia, PA 19103
Notice of Appearance/Request for Notices           Kramer Levin Naftalis & Frankel LLP              Attn: Thomas Moers Mayer            212-715-8000    tmayer@kramerlevin.com                   Email
Counsel for the Official Committee of Unsecured                                                     Attn: Rachel Ringer                                 rringer@kramerlevin.com
Creditors                                                                                           Attn: David E. Blabey Jr.                           dblabey@kramerlevin.com
                                                                                                    Attn: Jennifer R. Sharret                           jsharret@kramerlevin.com
                                                                                                    Attn: Megan M. Wasson                               mwasson@kramerlevin.com
                                                                                                    177 Ave of the Americas
                                                                                                    New York, NY 10036
Notice of Appearance/Request for Notices             Latham & Watkins LLP                           Attn: Adam J. Goldberg              212-751-4864    adam.goldberg@lw.com                     Email
Counsel for The Church of Jesus Christ of Latter-day                                                885 3rd Ave
Saints                                                                                              New York, NY 10022-4834
Notice of Appearance/Request for Notices             Latham & Watkins LLP                           Attn: Jeffrey E Bjork               213-891-8763    jeff.bjork@lw.com                        Email
Counsel for The Church of Jesus Christ of Latter-day                                                Attn: Kimberly A Posin                              kim.posin@lw.com
Saints                                                                                              355 S Grand Ave, Ste 100
                                                                                                    Los Angeles, CA 90071-1560
NOA - Counsel for The Church of Jesus Christ of    Latham & Watkins LLP                             Attn: Nicholas J. Messana                           nicholas.messana@lw.com                  Email
Latter-day
Notice of Appearance and Request for Notices       Linebarger Goggan Blair & Sampson, LLP           Attn: Don Stecker                   210-225-6410    sanantonio.bankruptcy@publicans.com      Email
Counsel to Ector CAD                                                                                112 E Pecan St, Ste 2200
                                                                                                    San Antonio, TX 78205
Notice of Appearance/Request for Notices           Linebarger Goggan Blair & Sampson, LLP           Attn: Elizabeth Weller              469-221-5003    dallas.bankruptcy@publicans.com          Email
Counsel for Dallas County                                                                           2777 N. Stemmons Fwy, Ste 1000
                                                                                                    Dallas, TX 75207
Notice of Appearance/Request for Notices            Linebarger Goggan Blair & Sampson, LLP          Attn: John P. Dillman               713-844-3503    houston_bankruptcy@publicans.com         Email
Counsel for Houston Liens, Harris County, Cleveland                                                 P.O. Box 3064
ISD, Montgomery County, Orange County, and                                                          Houston, TX 77253-3064
Montgomery County
Notice of Appearance/Request for Notices            Maurice Wutscher LLP                            Attn: Alan C. Hochheiser            216-472-8510    ahochheiser@mauricewutscher.com          Email
Counsel for AmTrust North America, Inc. on behalf                                                   23611 Chagrin Blvd. Suite 207
of Wesco Insurance Company                                                                          Beachwood, OH 44123
Notice of Appearance/Request for Notices            McCreary, Veselka, Bragg & Allen, PC            Attn: Tara LeDay                    512-323-3205    tleday@mvbalaw.com                       Email
Counsel for The County of Anderson, Texas, The                                                      P.O. Box 1269
County of Denton, Texas, Harrison Central Appraisal                                                 Round Rock, TX 78680
District, The County of Harrison, Texas, The County
of Henderson, Texas, Midland Central Appraisal
District, The County of Milam, Texas, Terry County
Appraisal District and The County of Williamson,
Texas
Notice of Appearance/Request for Notices            McDermott Will & Emery LLP                       Attn: Ryan S. Smethurst            202-756-8087    rsmethurst@mwe.com                       Email
Counsel for Allianz Global Risks US Insurance                                                        Attn: Margaret H. Warner                           mwarner@mwe.com
Company                                                                                              The McDermott Building
                                                                                                     500 North Capitol Street, NW
                                                                                                     Washington, DC 20001-1531
Notice of Appearance and Request for Notices     Miller, Canfield, Paddock and Stone, P.L.C.         Attn: Danielle Mason Anderson      269-382-0244    andersond@millercanfield.com             Email
Counsel to Stryker Medical                                                                           277 S Rose St, Ste 5000
                                                                                                     Kalamazoo, MI 49007
Notice of Appearance/Request for Notices         Mintz, Levin, Cohn, Ferris, Glovsky And Popeo, P.C. Attn: Kim V. Marrkand              617-542- 2241   kmarrkand@mintz.com                      Email
Counsel for Liberty Mutual Insurance Company                                                         Attn: Nancy D. Adams                               ndadams@mintz.com
                                                                                                     Attn: Laura Bange Stephens                         lbstephens@mintz.com
                                                                                                     One Financial Ctr
                                                                                                     Boston, MA 02111
Notice of Appearance/Request for Notices         Mirick, O'Connell, DeMallie & Lougee, LLP           Attn: Kate P Foley                 508-898-1502    kfoley@mirickoconnell.com                Email
Counsel for Sun Life Assurance Company of Canada                                                     1800 W Park Dr, Ste 400
                                                                                                     Westborough, MA 01581
Notice of Appearance/Request for Notices         Mirick, O'Connell, DeMallie & Lougee, LLP           Attn: Paul W Carey                 508-791-8502    pcarey@mirickoconnell.com                Email
Counsel for Sun Life Assurance Company of Canada                                                     100 Front St
                                                                                                     Worcester, MA 01608
Notice of Appearance/Request for Notices         Missouri Department of Revenue                      Bankruptcy Unit                    573-751-7232    deecf@dor.mo.gov                         Email
Counsel for Missouri Department of Revenue                                                           Attn: Steven A. Ginther
                                                                                                     PO Box 475
                                                                                                     Jefferson City, MO 65105-0475
Notice of Appearance and Request for Notices     Monzack Mersky Browder and Hochman, P.A.            Attn: Rachel B. Mersky                             rmersky@monlaw.com                       Email
Counsel to the Coalition of Abused Scouts for                                                        1201 N Orange St, Ste 400
Justice                                                                                              Wilmington, DE 19801



In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20-10343                                                                                                 Page 3 of 7
                                                Case 20-10343-LSS                                    Doc 1884                       Filed 12/30/20          Page 6 of 9
                                                                                                                   Exhibit A
                                                                                                            Core/2002 Service List
                                                                                                           Served as set forth below

                   Description                                        Name                                                Address                  Fax                        Email                    Method of Service
Notice of Appearance/Request for Notices           Monzack Mersky McLaughlin & Browder, PA           Attn: Brian McLaughlin                 302-656-2769    bmclaughlin@monlaw.com                   Email
Counsel for Waste Management                                                                         Attn: Rachel Mersky                                    rmersky@monlaw.com
                                                                                                     1201 N Orange St, Ste 400
                                                                                                     Wilmington, DE 19801
Notice of Appearance/Request for Notices           Moore & Rutt, PA                                  Attn: David N. Rutt                                    dnrutt@mooreandrutt.com                  Email
Counsel for the Florida Conference of the United                                                     Attn: Scott G. Wilcox                                  swilcox@mooreandrutt.com
Methodist Church and Various Churches in the                                                         122 N Market St
Conference that are Chartered Organizations                                                          P.O. Box 554
                                                                                                     Georgetown, DE 19947


Notice of Appearance/Request for Notices Counsel Morris James LLP                                    Attn: Jeffrey R. Waxman                302-571-1750    jwaxman@morrisjames.com                  Email
for Pearson Education, Inc. and NCS Pearson, Inc.                                                    Attn: Eric J. Monso                                    emonzo@morrisjames.com
                                                                                                     500 Delaware Ave, Ste 1500
                                                                                                     P.O. Box 2306
                                                                                                     Wilmington, DE 19899-2306
Notice of Appearance/Request for Notices           Morris James LLP                                  Attn: Brett D. Fallon                  302-571-1750    bfallon@morrisjames.com                  Email
Counsel for Old Republic Insurance Company                                                           Attn: Brya M. Keilson                                  bkeilson@morrisjames.com
                                                                                                     500 Delaware Ave, Ste 1500
                                                                                                     P.O. Box 2306
                                                                                                     Wilmington, DE 19899-2306
Core Parties                                       Morris, Nichols, Arsht & Tunnell                  Attn: Derek C. Abbott                  302-658-7036    dabbott@mnat.com                         Email
Counsel for Debtor                                                                                   Attn: Joseph Charles Barsalona II                      jbarsalona@mnat.com
                                                                                                     Attn: Eric Moats                                       emoats@mnat.com
                                                                                                     Attn: Andrew R. Remming                                aremming@mnat.com
                                                                                                     Attn: Paige N. Topper                                  ptopper@mnat.com
                                                                                                     1201 N. Market Street
                                                                                                     P.O. Box 1347
                                                                                                     Wilmington, DE, 19899

Notice of Appearance/Request for Notices           Motley Rice LLC                                   A n: Daniel R. Lapinksi                856-667-5133    dlapinski@motleyrice.com                 Email
Counsel for various child sexual abuse tort                                                          210 Lake Dr E, Ste 101
claimants                                                                                            Cherry Hill, NJ 08002

Notice of Appearance/Request for Notices           Motley Rice LLC                                   Attn: Joseph F. Rice                   843-216-9290    jrice@motleyrice.com                     Email
Counsel for various child sexual abuse tort                                                          28 Bridgeside Blvd
claimants                                                                                            Mt Pleasant, SC 29464

Notice of Appearance/Request for Notices           Nagel Rice LLP                                    Attn: Bradley L Rice                   973-618-9194    brice@nagelrice.com                      Email
Counsel for Jack Doe, Creditor and Defendant in                                                      103 Eisenhower Pkwy
Adversary Case                                                                                       Roseland, NJ 07068

Notice of Appearance and Request for Notices       Napoli Shkolnnik PLLC                             Attn: R. Joseph Hrubiec                                RHrubiec@NapoliLaw.com                   Email
Counsel to Claimant J.M.                                                                             919 N Market St, Ste 1801
                                                                                                     Wilmington, DE 19801
Notice of Appearance/Request for Notices Counsel Nelson Comis Kettle & Kinney, LLP                   A n: William E. Winﬁeld                805-604- 4150   wwinfield@calattys.com                   Email
for Ventura County Council of BSA                                                                    300 E Esplande Dr, Ste 1170
                                                                                                     Oxnard, CA 93036
Notice of Appearance/Request for Notices           Nelson Mullins Riley & Scarborough LLP            A n: David Barnes, Jr                  202-689-2860    david.barnes@nelsonmullins.com           Email
Counsel for Indian Waters Council                                                                    101 Cons tu on Ave NW, Ste 900
                                                                                                     Washington, DC 20001
Notice of Appearance/Request for Notices           Nicolaides Fink Thorpe Michaelides Sullivan LLP   Attn: Matthew S. Sorem                 312-585-1401    msorem@nicolaidesllp.com                 Email
Counsel for Allianz Global Risks US Insurance                                                        10 S. Wacker Dr., 21st Floor
Company                                                                                              Chicago, IL 60606

Notice of Appearance/Request for Notices           Norton Rose Fulbright Us LLP                      Attn: Louis R. Strubeck, Jr.                           louis.strubeck@nortonrosefulbright.com   Email
Counsel for JPMorgan Chase Bank, National                                                            1301 Ave of the Americas
Association                                                                                          New York, NY 10019-6022

Notice of Appearance/Request for Notices           Norton Rose Fulbright Us LLP                      Attn: Louis R. Strubeck, Jr            214-855-8200    louis.strubeck@nortonrosefulbright.com   Email
Counsel for JPMorgan Chase Bank, National                                                            Attn: Kristian W. Gluck                                kristian.gluck@nortonrosefulbright.com
Association                                                                                          Attn: Ryan E. Manns                                    ryan.manns@nortonrosefulbright.com
                                                                                                     2200 Ross Avenue, Suite 3600
                                                                                                     Dallas, TX 75201-7933
Notice of Appearance and Request for Notices       Nye, Stirling, Hale & Miller LLP                  Attn: Joel M. Walker                   412-857-5350    jmwalker@nshmlaw.com                     Email
Counsel for various child sexual abuse tort                                                          1145 Bower Hill Rd, Ste 104
claimants                                                                                            Pittsburgh, PA 15243
Notice of Appearance and Request for Notices       O’Connor Playdon Guben & Inouye LLP               Attn: Jerrold K. Guben                 808-531-8628    JKG@opgilaw.com                          Email
Counsel to Boy Scouts of America for Hawaii and                                                      Makai Tower, Ste 2400
Guam Chapter                                                                                         733 Bishop St
                                                                                                     Honolulu, HI 96813
Notice of Appearance/Request for Notices          O’Melveny & Myers LLP                              A n: Tancred Schiavoni                                                                          First Class Mail
Counsel to for Century Indemnity Company, as                                                         Times Square Tower
successor to Cigna Specialty Insurance Company                                                       7 Times Square
f/k/a California Union Insurance Company, and CCI                                                    New York, NY 10036-6537
Insurance Company as successor to Insurance
Company of North America, et al.




Notice of Appearance/Request for Notices           Office of the Attorney General                    Attn: Christopher S. Murphy            512-936- 1409   christopher.murphy@oag.texas.gov         Email
Counsel for the Texas Workforce Commission                                                           Attn: Sherri K. Simpson                                sherri.simpson@oag.texas.gov
                                                                                                     Bankruptcy & Collections Division
                                                                                                     P.O. Box 12548
                                                                                                     Austin, TX 78711-2548
Core Parties                                       Office of the United States Trustee               Attn: David L. Buchbinder              302-573-6497    david.l.buchbinder@usdoj.gov             First Class Mail
Office of the United States Trustee                                                                  Attn: Hannah Mufson McCollum                           hannah.mccollum@usdoj.gov                Email
                                                                                                     844 King St, Suite 2207
                                                                                                     Lockbox 35
                                                                                                     Wilmington, DE 19801




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20-10343                                                                                                   Page 4 of 7
                                                Case 20-10343-LSS                                   Doc 1884                      Filed 12/30/20          Page 7 of 9
                                                                                                                 Exhibit A
                                                                                                           Core/2002 Service List
                                                                                                          Served as set forth below

                    Description                                              Name                                          Address               Fax                            Email         Method of Service
Notice of Appearance/Request for Notices              Pachulski Stang Ziehl & Jones LLP             Attn: James I. Stang                  302-652-4400    jstang@pszjlaw.com                Email
Counsel to the Tort Claimants' Committee                                                            Attn: Linda F. Cantor                                 lcantor@pszjlaw.com
                                                                                                    10100 Santa Monica Blvd, 13th Fl
                                                                                                    Los Angeles, CA 90067-4003
Notice of Appearance/Request for Notices              Pachulski Stang Ziehl & Jones LLP             Attn: Robert Orgel                    302-652-4400    rorgel@pszjlaw.com                Email
Counsel for the Tort Claimants' Committee                                                           Attn: James O'Neill                                   joneill@pszjlaw.com
                                                                                                    Attn: John Lucas                                      jlucas@pszjlaw.com
                                                                                                    Attn: Ilan Scharf                                     ischarf@pszjlaw.com
                                                                                                    919 N Market St.,17th Floor
                                                                                                    P.O. Box 8705
                                                                                                    Wilmington, DE 19899-8705
Notice of Appearance and Request for Notices          Paul Mones PC                                 Attn: Paul Mones                                      paul@paulmones.com                Email
Counsel to Jorge Vega                                                                               13101 Washington Blvd
                                                                                                    Los Angeles, CA 90066
Notice of Appearance/Request for Notices              Pension Benefit Guaranty Corporation          Attn: Patricia Kelly, CFO             202-326-4112    kelly.patricia@pbgc.Gov           Email
Counsel for the Pension Benefit Guaranty                                                            Attn: Cassandra Burton, Attorney                      burton.cassandra@pbgc.gov
Corporation                                                                                         Attn: Craig Fessenden                                 fessenden.craig@pbgc.gov
                                                                                                    1200 K St NW
                                                                                                    Washington, DC 20005
Notice of Appearance and Request for Notices        Perdue, Brandon, Fielder, Collins & Mott, LLP   Attn: John T. Banks                   512-302-1802    jbanks@pbfcm.com                  Email
Counsel for Burleson County Tax Office, Luling ISD                                                  3301 Northland Dr, Ste 505
Tax Office, Colorado County Tax Office, Fayette                                                     Austin, TX 78731
County Tax Office, Milano ISD Tax Office, and Gause
ISD Tax Office
Notice of Appearance/Request for Notices            Pfau Cochran Vertetis Amala PLLC                Attn: Michael T. Pfau                 206-623-3624    michael@pcvalaw.com               Email
Counsel for Various Tort Claimants                                                                  Attn: Jason P. Amala                                  jason@pcvalaw.com
                                                                                                    Attn: Vincent T. Nappo                                vnappo@pcvalaw.com
                                                                                                    403 Columbia Street, Suite 500
                                                                                                    Seattle, WA 98104
Notice of Appearance/Request for Notices              Phillips Lytle LLP                            Attn: Angela Z Miller                 716-852-6100    amiller@phillipslytle.com         Email
Counsel for Pearsons Education, Inc. and NSC                                                        One Canalside, 125 Main St
Pearsons, Inc.                                                                                      Buffalo, NY 14203,
ENR                                                   Raul Diaz                                                                                           rauldiaz2503@gmail.com            Email
Notice of Appearance/Request for Notices              Reed Smith LLP                                Attn: Kurt F. Gwynne                  302-778-7575    kgwynne@reedsmith.com             Email
Counsel to the Official Committee of Unsecured                                                      Attn: Katelin A. Morales                              kmorales@reedsmith.com
Creditors                                                                                           120 N Market St, Ste 1500
                                                                                                    Wilmington, DE 19801
Notice of Appearance/Request for Notices              Reger Rizzo & Darnall LLP                     A n: Louis J. Rizzo, Jr                               lrizzo@regerlaw.com               Email
Counsel for Travelers Casualty and Surety                                                           1521 Concord Pike, Ste 305
Company, Inc. (fka Aetna Casualty & Surety                                                          Brandywine Plaza West
Company), St. Paul Surplus Lines Insurance                                                          Wilmington, DE 19803
Company, and Gulf Insurance Company



Notice of Appearance/Request for Notices             Richards, Layton & Finger, PA                  Attn: Michael Merchant                302-651-7701    merchant@rlf.com                  Email
Counsel for The Church of Jesus Christ of Latter-day                                                Attn: Brett Haywood                                   haywood@rlf.com
Saints                                                                                              One Rodney Square
                                                                                                    920 N King St
                                                                                                    Wilmington, DE 19801
*NOA - Counsel for Courtney and Stephen Knight,       Schnader Harrison Segal & Lewis LLP           Attn: Richard A. Barkasy, Esq.        302-888-1696    rbarkasy@schnader.com             Email
Jointly as the Surviving Parents of E.J.K., a Minor                                                 Attn: Kristi J. Doughty, Esq.                         kdoughty@schnader.co
Child
Notice of Appearance/Request for Notices              Seitz, Van Ogtrop & Green, P.A.               Attn: R. Karl Hill                    302-888- 0606   khill@svglaw.com                  Email
Counsel for Liberty Mutual Insurance Company                                                        222 Delaware Ave, Ste 1500
                                                                                                    Wilmington, DE 19801
Notice of Appearance/Request for Notices              Sequoia Council of Boy Scouts, Inc.           Attn: Michael Marchese                                michael.marchese@scouting.org     Email
Sequoia Council of Boy Scouts, Inc.                                                                 6005 N. Tamera Avenue
                                                                                                    Fresno, CA 93711
Notice of Appearance/Request for Notices         Shipman & Goodwin LLP                              Attn: James P. Ruggeri                202-469-7751    jruggeri@goodwin.com              Email
Counsel for Hartford Accident and Indemnity                                                         Attn: Joshua D. Weinberg                              jweinberg@goodwin.com
Company, First State Insurance Company, and Twin                                                    Attn: Michele Backus Konigsberg                       mkonigsberg@goodwin.com
City Fire Insurance Company                                                                         Attn: Abigail W. Williams                             awilliams@goodwin.com
                                                                                                    1875 K St NW, Ste 600
                                                                                                    Washington, DC 20006-1251
Notice of Appearance/Request for Notices         Shipman & Goodwin LLP                              Attn: Eric S. Goldstein               860-251-5218    egoldstein@goodwin.com            Email
Counsel for Hartford Accident and Indemnity                                                         One Constitution Plaza                                bankruptcy@goodwin.com
Company, First State Insurance Company, and Twin                                                    Hartford, CT 06103-1919                               bankruptcyparalegal@goodwin.com
City Fire Insurance Company
Core Parties                                     Sidley Austin LLP                                  Attn: Blair Warner                    312-853-7036    blair.warner@sidley.com           Email
Counsel for Debtor                                                                                  Attn: Matthew Evan Linder                             mlinder@sidley.com
                                                                                                    Attn: Thomas A. Labuda, Jr.                           tlabuda@sidley.com
                                                                                                    Attn: Karim Basaria                                   kbasaria@sidley.com
                                                                                                    One South Dearborn Street
                                                                                                    Chicago, IL 60603
Core Parties                                          Sidley Austin LLP                             Attn: Jessica C. Boelter              212-839-5599    jboelter@sidley.com               Email
Counsel for Debtor                                                                                  787 Seventh Avenue
                                                                                                    New York, NY 10019
Notice of Appearance/Request for Notices              Squire Patton Boggs (US) LLP                  Attn: Mark A. Salzberg                202-457-6315    mark.salzberg@squirepb.com        Email
Counsel for The Domestic and Foreign Missionary                                                     2550 M St, NW
Society of the Protestant Episcopal Church in the                                                   Washington, DC 20037
United States of America



Notice of Appearance/Request for Notices              Squire Patton Boggs (US) LLP                  Attn: Travis A. McRoberts             214-758-1550    travis.mcroberts@squirepb.com     Email
Counsel for The Domestic and Foreign Missionary                                                     2000 McKinney Ave, Ste 1700
Society of the Protestant Episcopal Church in the                                                   Dallas, TX 75201
United States of America




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20-10343                                                                                                 Page 5 of 7
                                                Case 20-10343-LSS                                 Doc 1884                    Filed 12/30/20                    Page 8 of 9
                                                                                                               Exhibit A
                                                                                                        Core/2002 Service List
                                                                                                       Served as set forth below

                     Description                                         Name                                         Address                          Fax                         Email               Method of Service
Notice of Appearance and Request for Notices        Stamoulis & Weinblatt LLC                     Stamoulis & Weinbla LLC                                       stamoulis@swdelaw.com                Email
Counsel to for Century Indemnity Company, as                                                      A n: Stama os Stamoulis                                       weinblatt@swdelaw.com
successor to Cigna Specialty Insurance Company                                                    A n: Richard Weinbla
f/k/a California Union Insurance Company, and CCI                                                 800 N West St, Ste 800
Insurance Company as successor to Insurance                                                       Wilmington, DE 19801
Company of North America; Chubb Custom
Insurance Company; Federal Insurance Company;
Insurance Company of North America; Pacific
Employers Insurance Company; Pacific Indemnity
Company, as successor to Texas Pacific Indemnity
Company; United States Fire Insurance Company;
Westchester Fire Insurance Company, by novation
for policies issued by Industrial Indemnity Company
and International Insurance Company; and
Westchester Surplus Lines Insurance Company

Notice of Appearance/Request for Notices             Stark & Stark, PC                            Attn: Joseph H Lemkin                          609-896-0629   jlemkin@stark-stark.com              Email
Counsel for R.L. and C.L., Plaintiffs in State Court                                              P.O. Box 5315
action pending in the Superior Court of New Jersey,                                               Princeton, NJ 08543
Essex County
Notice of Appearance and Request for Notices         Steptoe & Johnson LLP                        Attn: Harry Lee                                202-429-3902   hlee@steptoe.com                     Email
Counsel for Clarendon America Insurance Company                                                   Attn: John O’Connor                                           joconnor@steptoe.com
                                                                                                  Attn: Brett Grindrod                                          bgrindrod@steptoe.com
                                                                                                  1330 Connecticut Ave, N.W
                                                                                                  Washington, DC 20036
Notice of Appearance and Request for Notices          Straffi & Straffi, LLC                      Attn: Daniel Straffi, Jr                       732-341-3548   bkclient@straffilaw.com              Email
Counsel for the Presbyterian Church of Lakehurst                                                  670 Commons Way
                                                                                                  Toms River, NJ 08755
Notice of Appearance and Request for Notices           Sullivan Hazeltine Allinson LLC            Attn: William D. Sullivan                      302-428-8195   bsullivan@sha-llc.com                Email
Counsel to Eric Pai, as administrator of the Estate of                                            919 N Market St, Ste 420
J. Pai                                                                                            Wilmington, DE 19801
Notice of Appearance and Request for Notices           Sullivan Hill Lewin Rez & Engel, PLC       Attn: James Hill/ Christopher Hawkins          619-231-4372   Hill@SullivanHill.com                Email
Counsel for The Episcopal Diocese of San Diego                                                    Attn: Kathleen Cashman-Kramer
                                                                                                  600 B St, Ste 1700
                                                                                                  San Diego, CA 92101
Notice of Appearance/Request for Notices              Swenson & Shelley, PLLC                     Attn: Kevin D. Swenson                         855-450-8435   Kevin@swensonshelley.com             Email
Counsel for various child sexual abuse tort                                                       107 S 1470 E, Ste 201
claimants                                                                                         St George, UT 84790


Notice of Appearance/Request for Notices              Synchrony Bank                              c/o PRA Receivables Management, LLC            757-351-3257   claims@recoverycorp.com              Email
Authorized Agent for Synchrony Bank                                                               Attn: Valerie Smith
                                                                                                  P.O. Box 41021
                                                                                                  Norfolk, VA 23541
Bonds                                                 The County Commission Of Fayette County     Attn: President                                                                                    First Class Mail
                                                                                                  P.O. Box 307
                                                                                                  Fayetteville, WV 25840
Bonds                                                 The County Commission Of Fayette County     c/o Steptoe & Johnson Pllc                                                                         First Class Mail
                                                                                                  Attn: John Stump, Esq.
                                                                                                  Chase Tower - Eighth Fl
                                                                                                  707 Virginia St E.
                                                                                                  Charleston, WV 25301
Notice of Appearance and Request for Notices     The Law Office of James Tobia, LLC               Attn: James Tobia                              302-656-8053   jtobia@tobialaw.com                  Email
Counsel for Nichole Erickson and Mason Gordon, a                                                  1716 Wawaset St
minor by his mother Nichole Erickson                                                              Wilmington, DE 19806
Notice of Appearance/Request for Notices         The Law Offices of Joyce, LLC                    Attn: Michael J. Joyce                                        mjoyce@mjlawoffices.com              Email
Counsel for Arrowood Indemnity Company                                                            1225 King St.
                                                                                                  Suite 800
                                                                                                  Wilmington, DE 19801
Notice of Appearance/Request for Notices              The Neuberger Firm                          Attn: Thomas S. Neuberger                      302-655-0582   tsn@neubergerlaw.com                 Email
Counsel for Certain Claimants                                                                     Attn: Stephen J. Neuberger                                    sjn@neubergerlaw.com
                                                                                                  17 Harlech Dr.
                                                                                                  Wilmington, DE 19807
Notice of Appearance and Request for Notices          The Powell Firm, LLC                        Attn: Jason C. Powell                                         jpowell@delawarefirm.com             Email
Counsel for The Waite and Genevieve Phillips                                                      Attn: Thomas Reichert                                         treichert@delawarefirm.com
Foundation                                                                                        1201 N Orange St, Ste 500
                                                                                                  P.O. Box 289
                                                                                                  Wilmington, DE 19899
Notice of Appearance/Request for Notices              Thomas Law Office, PLLC                     Attn: Tad Thomas                               877-955-7002   tad@thomaslawoffices.com             Email
Counsel for Certain Claimants                                                                     Attn: Louis C. Schneider                                      lou.schneider@thomaslawoffices.com
                                                                                                  9418 Norton Commons Blvd, Ste 200
                                                                                                  Louisville, KY 40059
Notice of Appearance and Request for Notices          TN Dept of Labor - Bureau of Unemployment   c/o TN Attorney General's Office, Bankruptcy   615-741-3334   AGBankDelaware@ag.tn.gov             Email
Tennessee Attorney General's Office                   Insurance                                   Division
                                                                                                  Attn: Laura L. McCloud
                                                                                                  PO Box 20207
                                                                                                  Nashville, Tennessee 37202-0207
Notice of Appearance/Request for Notices              Tremont Sheldon Robinson Mahoney PC         Attn: Cindy Robinson                           203-366-8503   crobinson@tremontsheldon.com         Email
Counsel for Jane Doe, Party in Interest                                                           Attn: Doug Mahoney                                            dmahoney@tremontsheldon.com
                                                                                                  64 Lyon Ter
                                                                                                  Bridgeport, CT 06604
Notice of Appearance/Request for Notices              Troutman Pepper Hamilton Sanders LLP        Attn: David M. Fournier                        302-421-8390   david.fournier@troutman.com          Email
Counsel for the National Surety Corporation &                                                     Attn: Marcy J. McLaughlin Smith                               marcy.smith@troutman.com
Allianz Global Risks US Insurance Company                                                         1313 Market St, Ste 5100
                                                                                                  P.O. Box 1709
                                                                                                  Wilmington, DE 19899-1709
Notice of Appearance/Request for Notices              Troutman Pepper Hamilton Sanders LLP        Attn: Harris B. Winsberg                       404-885-3900   harris.winsberg@troutman.com         Email
Counsel for the National Surety Corporation &                                                     Attn: Matthew G. Roberts                                      matthew.roberts2@troutman.com
Allianz Global Risks US Insurance Company                                                         600 Peachtree St NE, Ste 3000
                                                                                                  Atlanta, GA 30308




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20-10343                                                                                               Page 6 of 7
                                                  Case 20-10343-LSS                             Doc 1884                      Filed 12/30/20         Page 9 of 9
                                                                                                              Exhibit A
                                                                                                       Core/2002 Service List
                                                                                                      Served as set forth below

                   Description                                           Name                                        Address                 Fax                        Email           Method of Service
Notice of Appearance/Request for Notices            Tune, Entrekin & White, PC                  A n: Joseph P. Rusnak                 615-244-2278   Jrusnak@tewlawfirm.com           Email
Counsel to an unidentified sexual abuse survivor                                                315 Deaderick St, Ste 1700
                                                                                                Nashville, TN 37238
Notice of Appearance and Request for Notices        Tybout, Redfearn & Pell                     Attn: Seth J. Reidenberg              302-658-4018   sreidenberg@trplaw.com           Email
Counsel to American Zurich Insurance Company                                                    750 Shipyard Dr, Ste 400
                                                                                                P.O. Box 2092
                                                                                                Wilmington, DE 19899-2092
Core Parties                                        United States Dept Of Justice               950 Pennsylvania Ave, Nw                                                              First Class Mail
                                                                                                Room 2242
                                                                                                Washington, DC 20530-0001
Core Parties                                        US Attorney For Delaware                    Attn: David C Weiss                   302-573-6220   usade.ecfbankruptcy@usdoj.gov    First Class Mail
                                                                                                1007 Orange St, Ste 700                                                               Email
                                                                                                P.O. Box 2046
                                                                                                Wilmington, DE 19899-2046
Core Parties                                      Wachtell, Lipton, Rosen & Katz                Attn: Richard Mason                   212-403-2252   rgmason@wlrk..com                First Class Mail
Counsel for Ad Hoc Committee of Local Councils of                                               Attn: Douglas Mayer                                  dkmayer@wlrk.com                 Email
the Boy Scouts of America                                                                       Attn: Joseph C. Celentino                            jccelentino@wlrk.com
                                                                                                51 W 52nd St
                                                                                                New York, NY 10019
Notice of Appearance and Request for Notices        Walker Wilcox Maousek LLP                   Attn: Christopher A. Wadley                          cwadley@walkerwilcox.com         Email
Counsel to for Century Indemnity Company, as                                                    1 N Franklin, Ste 3200
successor to Cigna Specialty Insurance Company                                                  Chicago, IL 60606
f/k/a California Union Insurance Company, and CCI
Insurance Company as successor to Insurance
Company of North America; Chubb Custom
Insurance Company; Federal Insurance Company;
Insurance Company of North America; Pacific
Employers Insurance Company; Pacific Indemnity
Company, as successor to Texas Pacific Indemnity
Company; United States Fire Insurance Company;
Westchester Fire Insurance Company, by novation
for policies issued by Industrial Indemnity Company
and International Insurance Company; and
Westchester Surplus Lines Insurance Company

Notice of Appearance/Request for Notices            Wanger Jones Helsley, PC                    Attn: Riley C. Walter                                rwalter@wjhattorneys.com         Email
Counsel for Sequoia Council of Boy Scouts, Inc.                                                 265 E. River Park Circle, Suite 310
                                                                                                Fresno, CA 93720
Notice of Appearance/Request for Notices            Ward and Smith, P.A.                        Attn: Paul A Fanning                  252-215-4077   paf@wardandsmith.com             Email
Counsel for East Carolina Council BSA, Inc.                                                     P.O. Box 8088
                                                                                                Greenville, NC 27835-8088
Notice of Appearance/Request for Notices            White & Case LLP                            Attn: Jessica C.K. Boelter                           jessica.boelter@whitecase.com    Email
Boy Scouts of America And Delaware BSA, LLC                                                     1221 Ave of the Americas
                                                                                                New York, NY 10020-1095


Notice of Appearance/Request for Notices            White & Case LLP                            Attn: Michael C. Andolina                            mandolina@whitecase.com          Email
Boy Scouts of America And Delaware BSA, LLC                                                     Attn: Matthew E. Linder                              mlinder@whitecase.com
                                                                                                111 S Wacker Dr
                                                                                                Ste 5100
                                                                                                Chicago, IL 60606-4302
Notice of Appearance/Request for Notices            Whiteford Taylor & Preston LLC              Attn: Richard W. Riley                               rriley@wtplaw.com                Email
Counsel for Baltimore Area Council Boy Scouts of                                                The Renaissance Centre
America, Inc.                                                                                   405 North King Street, Suite 500
                                                                                                Wilmington, Delaware 19801
Notice of Appearance/Request for Notices            Whiteford Taylor & Preston LLP              Attn: Todd M. Brooks                                 tbrooks@wtplaw.com               Email
Counsel for Baltimore Area Council Boy Scouts of                                                Seven Saint Paul Street, 15th Floor
America, Inc.                                                                                   Baltimore, Maryland 21202-1626
Notice of Appearance and Request for Notices        Wilks Law, LLC                              Attn: David E. Wilks                                 dwilks@wilks.law                 Email
Counsel for Interested Parties Andrew Van Arsdale                                               4250 Lancaster Pike, Ste 200
and Timothy Kosnoff                                                                             Wilmington, DE 19805
Notice of Appearance/Request for Notices            Wilmer Cutler Pickering Hale and Dorr LLP   Attn: Craig Goldblatt                 202-663-6363   craig.goldblatt@wilmerhale.com   Email
Counsel for the Columbia Casualty Company and                                                   1875 Pennsylvania Ave NW
The Continental Insurance Company                                                               Washington, DC 20006
Notice of Appearance/Request for Notices            Womble Bond Dickinson (US) LLP              Attn: Matthew Ward                    302-252-4330   matthew.ward@wbd-us.com          Email
Counsel for JPMorgan Chase Bank, National                                                       Attn: Morgan Patterson                               morgan.patterson@wbd-us.com
Association                                                                                     1313 N Market St, Ste 1200
                                                                                                Wilmington, DE 19801
Core Parties                                        Young Conaway Stargatt & Taylor             Attn: James L. Patton, Jr             302-576-3325   jpatton@ycst.com                 First Class Mail
Counsel for Prepetition Future Claimants’                                                       Attn: Robert Brady                                   rbrady@ycst.com                  Email
Representative                                                                                  Attn: Edwin Harron                                   eharron@ycst.com
                                                                                                Rodney Square
                                                                                                1000 N King St
                                                                                                Wilmington, DE 19801




In re: Boy Scouts of America
and Delaware BSA, LLC
Case No. 20-10343                                                                                              Page 7 of 7
